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IN THE UNITED STATES DISTRICT COURT wes 1 DiStRICT Cour
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FOR THE WESTERN DISTRICT OF PENNSYLVANIA
UNITED STATES OF AMERICA - +)
. )
V. ' +) Criminal No. B “ / 70
| ) (8 U.S.C. §§ 2 and 231(a)(3))
RAEKWON DAC BLANKENSHIP ) [UNDER SEAL]
INDICTMENT
- COUNT ONE

The grand jury charges:

On or about May .30,. 2020, in the Western District of Pennsylvania, the defendant,
RAEKWON DAC BLANKENSHIP, did commit and attempt to commit an act to obstruct, impede
and interfere with a law enforcement officer lawfully engaged in the lawful performance of the
officer’s official duties, incident to and during the commission of a civil disorder which obstructed,
delayed and adversely affected commerce and the movement of articles and commodities in
commerce, to wit: the defendant, RAEK WON DAC BLANKENSHIP, incident to and during the
commission of a civil disorder in the vicinity of downtown Pittsburgh and the PPG Paints Arena
in the City of Pittsburgh, which disorder obstructed, delayed and adversely affected the interstate
commerce activities of nearby business establishments and the movement of articles and
commodities in commerce, did knowingly and willfully cause damage to a police officer’s
unmarked police vehicle by hitting, kicking and stomping on various parts of that vehicle, did

knowingly and willfully cause damagé to a police officer’s marked vehicle by throwing a projectile
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into the windshield, and did poke and strike multiple police horses, causing the obstruction,

impediment and interference of law enforcement officers engaged in the lawful performance of

their official duties. |
In violation of Title 18, United States Code, Sections 2 and 231(a)(3).

A True Bill,

 

SCOTT W.BRADY #4
United States Attorney

PA ID No. 88352
